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ATTORNEY FOR CEASONS HOLDINGS, LLC

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

In re:                                      §
                                            §         Case No. 23-41386
Sidhartha Mukherjee and                     §
Sunita Mukherjee                            §
                                            §         Chapter 13
                                            §
         Debtors                            §

                MOTION TO DISMISS CASE WITH PREJUDICE TO REFILING

         Your rights may be affected by the relief sought in this pleading. You should
         read this pleading carefully and discuss it with your attorney, if you have one in
         this bankruptcy case. If you oppose the relief sought by this pleading, you must
         file a written objection, explaining the factual and/or legal basis for opposing
         the relief.

         No hearing will be conducted on this Motion unless a written objection is filed
         with the Clerk of the United States Bankruptcy Court and served upon the
         party filing this pleading WITHIN FOURTEEN (14) DAYS FROM THE DATE
         OF SERVICE shown in the certificate of service unless the Court shortens or
         extends the time for filing such objection. If no objection is timely served and
         filed, this pleading shall be deemed to be unopposed, and the Court may enter
         an order granting the relief sought. If an objection is filed and served in a timely
         manner, the Court will thereafter set a hearing with appropriate notice. If you
         fail to appear at the hearing, your objection may be stricken. The Court
         reserves the right to set a hearing on any matter.

TO THE HONORABLE BRENDA T. RHOADES
UNITED STATES BANKRUPTCY JUDGE:




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       COMES NOW, Ceasons Holdings LLC (“Movant”), a creditor in the above-styled and

numbered case, and files its Motion to Dismiss Case with Prejudice to Refiling (the “Motion”). In

support thereof, Movant states:

       1.      The Court has jurisdiction over the subject matter of this Motion pursuant to 28

U.S.C. §§ 157, 1334. The Motion presents a core matter pursuant to 28 U.S.C. § 157(b)(2)(A) &

(O).

       2.      Movant is the holder of a mortgage on the Debtors’ principal residence located at

3905 Kite Meadow Drive, Plano, Texas (the “Plano Property”).

       3.      The Debtors filed for bankruptcy protection on July 31, 2023, presumably to halt the

Movant’s pending foreclosure on the Plano Property.

       4.      On September 14, 2023, Debtors were to appear at the 341 Meeting of Creditors

scheduled in the case. Multiple parties attended, but the Debtors failed to appear.

       5.      The Debtors have not made their first plan payment.

       6.      The Movant submits that this case has been filed in bad faith, as evidenced by the

Debtors’ failure to adhere to their statutory requirements to make plan payments and attend their

creditors meeting.

       7.      Additionally, and further evidencing the Debtors’ bad faith, the Debtors have failed

to disclose material information required for this Court and the Standing Chapter 13 Trustee to

administer the case, to wit:

               a. On November, 30, 2021, Movant loaned the Debtors $300,000.00 evidenced by a

                     Promissory Note (“Note”) and Deed of Trust and Security Agreement (“Deed of

                     Trust”). Copies of the Note and Deed of Trust are attached hereto as Exhibit 1

                     and Exhibit 2 respectively.

               b. The loan from Movant and the Debtor’s grant of a security interest to Movant in

                     the Plano Property are not disclosed, as they should be, in response to Question


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                         No. 18 in the Debtor’s Statement of Financial Affairs. Moreover, the

                         contemporaneous payment from Movant’s loan funding to discharge the lien of

                         the prior mortgagee, Wildcat Lending Fund One L.P., is also not disclosed as

                         required.

                    c. The loan from Movant was made based on the Debtors’ representation that they

                         did not occupy the Plano Property at the time of the loan, and had elected to

                         designate their homestead at another property they owned – 2705 Holm Drive,

                         Garland, TX (the “Garland Property”). See Non-Homestead Affidavit and

                         Designation of Homestead, Exhibit 3.

                    d. The Debtors’ answer to Question 2 of the Statement of Financial Affairs filed in

                         the case does not indicate that the Debtors ever resided at the Garland Property,

                         or anywhere other than the Plano Property, in the last three years.

                    e. Unbeknownst to Movant, substantially contemporaneously with the closing of

                         Movant’s loan, the Debtors sold the Garland Property. See Exhibit 4. The Non-

                         Homestead Affidavit and Designation of Homestead, which Movant was

                         conclusively entitled to rely upon,1 was thus patently false.

                    f. The Debtors’ answer to Question 18 of the Statement of Financial Affairs fails to

                         reflect the sale of the Garland Property. Moreover, the payment of the mortgage

                         on the Garland Property to the mortgagee at the time of the sale, Wildcat Lending

                         Fund One L.P., is also not disclosed as required.

                    g. Also in connection with Movant’s loan, on or about November 30, 2022, the

                         Debtors and a putative tenant of the Plano Property, Mr. Mody, signed a

                         Subordination, Non-Disturbance and Attornment Agreement stating that the

                         Plano Property was leased to Mr. Mody through June 2022. See Exhibit A to


1
    Texas Const. Art. 16, § 50(d).

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                   Exhibit 3.

               h. The Debtors’ answer to Question 4 of the Statement of Financial Affairs filed in

                   the case does not indicate any rent received from Mr. Mody. This, taken together

                   with the surreptitious sale of the Garland Property and the Debtors’ assertion in

                   their Statement of Financial Affairs that they have resided in the Plano Property

                   for all of the last three (3) years, calls into question whether the Subordination,

                   Non-Disturbance and Attornment Agreement was also false.

        8.     Compounding the deficiencies in the case is the fact that the Debtors’ plan is

completely indefensible. The plan proposes to retain two luxury vehicles valued at almost $80,000

and to reamoritze Movant’s debt at less than the contractual interest rate, despite the fact that

Movant’s loan was procured through fraud.

        9.     The Debtors have either falsified their bankruptcy filings, falsified their loan

documents with Movant, or both. They have not made the slightest attempt to meet their

administrative obligations or payment obligations in this case. And their goals in filing this case fly

in the face of the Bankruptcy Code’s policy to grant a “fresh start [to the] . . . honest but

unfortunate debtor.” Grogan v. Garner, 498 U. S. 279, 286, 287 (1991). These debtors are neither.

Accordingly, Movant requests that the Court dismiss this case with prejudice to refiling for six

months.

        WHEREFORE PREMISES CONSIDERED, Movant requests that after notice and hearing,

the Court dismiss this case with prejudice to refiling for six months and grant all other relief as is

just.




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                                            Respectfully submitted,

                                            By:     /s/ Howard Marc Spector
                                                   Howard Marc Spector
                                                   TBA #00785023

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                                            ATTORNEY FOR MOVANT




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                                                                i? TExAS REALToRS
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1. PARTIES: The parties to this lease are:
      the owner of the Property, Landlord,: SIDHARTHA MUKHERJEE
                                                                                                                                                                               and

      Tenant(s):            NIMESH AMLESH MODY


2.    PROPERTY: Landlord leases to Tenant the following real property:

      Address: 3905 KITE MEADOW DRIVE PLANO TX-75074
      legally described as:

      in COLLIN                                                                                County, Texas, together with the following non-real-property
      items:

      The real property and the non-real-property are collectively called the "Property".

3. TERM:
      A. Primary Term: The primary term of this lease begins and ends as follows:
            CommencementDate: 07/01/2021                                                                Expiration Date: 06130/2022

      B, Delay of Occupancy: Tenant must occupy the Property within 5 days after the Commencement Date. lf Tenant is
            unable to occupy the Property by the Sth day after the Commencement Date because of construction on the
            Property or a prior tenant's holding over of the Property, Tenant may terminate this lease by giving written notice
            to Landlord before the Property becomes available to be occupied by Tenant, and Landlord will refund to Tenant
            the security deposit and any rent paid. Landlord will abate rent on a daily basis for a delay caused by construction
            or a prior tenant's holding over. This paragraph does not apply to any delay in occupancy caused by cleaning,
            repairs, or make-ready items.

4. AUTOMATIC RENEWAL AND NOTICE OF TERMINATION: This lease automatically renews on a monthto-month
      basis unless Landlord or Tenant provides the other party written notice of termination as provided in Paragraph 4A.
      Oral notice of termination is not sufficient under any circumstances. Time is of the essence for providing notice of
      termination (strict compliance with dates by which notice must be provided is required). The date on which rent is due
      does not apply to the requirement for providing written notice of termination, lf a box is not checked under Paragraph
      4A, Paragraph 4A(1) will apply. lf a box is not checked under Paragraph 48, Paragraph 4B(1) will apply.

      A. This lease automatically renews on a month-to-month basis unless Landlord or Tenant provides the other party
            written notice of termination not less than: (Check only one box.)
      tr    (1)
            (1) 30 days before the Expiration Date.
      Ie)                        days before the Expiration Date.




(TXR-2001) 09-01-19                                                                     & Landlord or Landlord's Representative'           -Af,                 Page 1 of 1G


Keller Willianrs Rcalty DPR, 18333 Prcskm Rond, Sui(r 100 Dallrs,'l X 75252                                       Phone:   (972)732-6000 Fax:
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Residential Lease concerning:            3905 Kite Meadow Drive, Plano TX-75074

          lf Landlord or Tenant fails to provide the other party timely written notice of termination as required by paragraph
          44, the lease automatically renews on a month-to-month basis. The Landlord or Tenant then must provide a
          subsequent written notice of termination as required by paragraph 48.

    B. lf this lease automatically renews on a month-to-month basis, it will continue to renew on a month-to-month basis
          until either party provides written notice of termination to the other party and the notice of termination will be
          effective: (Check only one box.)

    E ttl on the last day of the month following the month in which the notice is given. Landlord is not obligated to
                prorate rent even if Tenant surrenders the Property before the termination date.
    !     (2) on the date designated in the notice but not sooner than 30 days after the notice is given and, if necessary,
                rent will be prorated on a daily basis.

    RENT: 12 Months in Advance $36,000.00 & Security Deposit of $2000.00 Total $38,000 will be paid on |uly 01,2021

    A. Monthly Rent: Tenant will pay Landlord monthly rent in the amount of $ sooo.oo                                                                  for each full month
          duringthislease'Thefirstfullmonth.srentisdueandpayablenotlaterthan
          by (select one or more): ! cashier's check ! electronic payment ! money order ! personal check or
         ! other means acceptable to Landlord.
         Thereafter, Tenant will pay the monthly rent so that Landlord receives the monthly rent on or before
          (check only one box):
    tr    (1) the first day of each month during this lease.
    ! Weekends,
          (2)
                         holidays, and mail delays do not excuse Tenant's obligation to timely pay rent.

    B. Prorated Rent: On or before                                Tenant will pay Landlord $
          prorated rent from the Commencement Date through the last day of the month in which this lease begins.

    C, Place of Pavment: Unless this lease provides otherwise, Tenant will remit all amounts due to Landlord under this
          lease to the following person or entity at the place stated and make all payments payable to the named person or
          entity. Landlord may later designate, in writing, another person or place to which Tenant must remit amounts due
          under this lease.
                Namc'
                Address:

                                Notice: Place the Property address and Tenant's name on all payments.

    D. Method of Pavment:
          (1) Tenant must pay all renttimely and without demand, deduction, or offset, except as permitted by law orthis
                lease.
          (2) Time is of the essence for the payment of rent (strict compliance with rental due dates is required).
          (3) Unless the parties agree othenruise, Tenant may not pay rent in cash and will pay all rent       (select one or                         by
              more): ! cashier's check I electronic payment ! money order ! personal check or I other means
              acceptable to Landlord. Landlord E ,ry or E may not charge a reasonable fee to process or accept
              payment by (se/ecf one or more only if Landlord indicates a reasonable fee may be charged): ! cashier's
              check ! electronic payment ! money order ! personal check or ! other means acceptable to Landlord.
          (4) Landlord ! requires ! Ooes not require Tenant(s) to pay monthly rents by one payment.
          (5) lf Tenant fails to timely pay any amounts due under this lease or if any check of Tenant is not honored by the
              institution on which it was drawn, Landlord may require Tenant to pay such amount and any subsequent
              amounts under this lease in certifled funds. This paragraph does not limit Landlord from seeking other
              remedies under this lease for Tenant's failure to make timely payments with good funds.



                                                                                                                                             \
(TXR-2001)oe-01-19 Tenants:[f,)                                                   & Landlord or Landlord's Representativ e,                 -W-            Page 2 of 16

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Residential Lease concerning: 3905 Kite Meadow Drive, Plano TX-75074

   E. Rent lncreases: There will be no rent increases through the primary term. Landlord may increase the rent that will
       be paid during any monthto-month renewal period by providing at least 30 days written notice to Tenant.

6. LATEGHARGES:
   A. lf Landlord does not actually receive a rent payment in the full amount at the designated place of payment by the
                            day of each month at 1 1:59pm, Tenant will pay Landlord for each late payment:

       (1) an initial late charge equal to (check one box only):E (a) $                   ; or E(b)            Yo of one                      _
           month's rent; and
       (2) additional late charges of $                    per day thereafter until rent and late charges are paid in full.
           Additional late charges for any one payment may not exceed more than 30 days.
       Notice: 592.0{9, Property Code prohibits assessing a late fee until rent has remained unpaid for at Ieast
       two full days after the date on which the rent is due.

   B. For the purposes of paying rent and any late charges, the mailbox is not the agent for receipt for Landlord (the
       postmark date is not the date Landlord receives the payment). The parties agree that the late charge is
       reasonable based on uncertain damages to the Landlord related to the late payment of rent, including direct or
       indirect expenses, direct or indirect costs, or overhead associated with the collection of late payment. Landlord's
       acceptance of a late charge does not waive Landlord's right to exercise remedies under Paragraph 27.

7. RETURNED PAYMENT: Tenantwillpay Landlord $                                          for each payment Tenant tenders to
   Landlord which is returned or not honored by the institution on which it is drawn for any reason, plus any late charges
   until Landlord receives payment. Tenant must make any returned payment good by paying such amount(s) plus any
   associated charges in certified funds.

8. APPLICATION OF FUNDS: Regardless of any notation on a payment. Landlord may apply funds received from
   Tenant first to any non-rent obligations of Tenant. including but not limited to. late charges. returned payment charoes.
   repairs. brokeraoe fees. periodic utilities. pet charges. and then to rent.

9. PETS:
   A. Unless the pafties agree othenrvise in writing, Tenant may not oermit. even temporarily. any pet on the Prooerty
       (including but not limited to any mammal, reptile, bird, fish, rodent, or insect). An assistance animal is not
       considered a pet.

   B. lf Tenant violates this Paragraph 9 or any agreement to keep a pet on the Property, Landlord may take all or any
       of the following action:
       (1) declare Tenant to be in default of this lease and exercise Landlord's remedies under Paragraph 27;
       (2) charge Tenant, as additional rent, an initial amount of $                        and $
           per day thereafter per pet for each day Tenant violates the pet restrictions;
       (3) remove or cause to be removed any unauthorized pet and deliver it to appropriate local authorities by
           providing at least 24-hour written notice to Tenant of Landlord's intention to remove the unauthorized pet; and
       (4) charge to Tenant the Landlord's cost to:
           (a) remove any unauthorized pet;
           (b) exterminate the Property for fleas and other insects;
           (c) clean and deodorize the Property's carpets and drapes; and
           (d) repair any damage to the Property caused by the unauthorized pet.




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    C. When taking any action under Paragraph 9B Landlord will not be liable for any harm, injury, death, or sickness to
        any pet.

10. SECURITY DEPOSIT:

    A. Security Deposit: On or before execution of this lease, Tenant will pay a security deposit to Landlord in the
       amount of $ 2000.00                                    by (se/ecf one or more): ! cashier's check felectronic
        payment     !
                    money order            !
                                      personal check or                     !
                                                            other means acceptable to Landlord. "security deposit" has the
        meaning assigned to that term in S92.102, Property Code. Any additional deposits Tenant pays to Landlord, other
        than the security deposit, will become part of the security deposit.

    B. lnterest: No interest or income will be paid to Tenant on the security deposit. Landlord may place the security
        deposit in an interest-bearing or income-producing account and any interest or income earned will be paid to
        Landlord or Landlord's representative.

    C. Refund: Tenant must give Landlord at least thirty (30) days written notice of surrender before Landlord is
        oblioated to account for or refund the security deposit. Any refund of the security deposit will be made payable to
        all Tenants named in this lease.

    Notices about Security Deposits:
    (1) 592.108, Property Code provides that a tenant may not withhold payment of any portion of the last
        month's rent on grounds that the security deposit is security for unpaid rent.
    (2) Bad faith violations of 592.108 may subiect a tenant to liability up to 3 times the rent wrongfully withheld
        and the landlord's reasonable attorney's fees.
    (3) The Property Code does not obligate a landlord to return or account for the security deposit until the
        tenant surrenders the Property and gives the landlord a written statement of the tenant's forwarding
        address, after which the landlord has 30 days in which to account.
    (4) "Surrender" is defined in Paragraph 16 of this lease.
    (5) One may view the Texas Property Code at the Texas Legislature's website which, as of the date shown in
        the lower left-hand corner of this form, is http://www.statutes.legis.state.tx.us/.

    D. Deductions:
        (1) Landlord may deduct reasonable charges from the security deposit for:
            (a) damages to the Property, excluding normal wear and tear, and all reasonable costs associated to repair
                   the Property;
             (b) costs forwhich Tenant is responsible to clean, deodorize, exterminate, and maintain the Property;
             (c) unpaid or accelerated rent;
             (d) unpaid late charges;
             (e) unpaid utilities and utility expenses Landlord incurs to maintain utilities to the Property as required by this
                   Lease;
             (0 unpaid pet charges;
             (g) replacing unreturned keys, garage door openers, security devices, or other components;
             (h) the removal of unauthorized locks or fixtures installed by Tenant;
             (i) Landlord's cost to access the Property if made inaccessible by Tenant;
             (j) missing or burned-out light bulbs and fluorescent tubes (at the same location and of the same type and
                   quality that are in the Property on the Commencement Date);
             (k) packing, removing, and storing abandoned property;
             (l) removing abandoned or illegally parked vehicles;


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            (m) costs of reletting (as defined in Paragraph 27), rt Tenant is in default;
            (n) attorney's fees, costs of court, costs of service, and other reasonable costs incurred in any legal
                 proceeding against Tenant;
            (o) mailing costs associated with sending notices to Tenant for any violations of this lease;
            (p) any other unpaid charges or fees or other items for which Tenant is responsible under this lease;
            (q) cost to restore walls, flooring, landscaping or any alteration to the Property not approved in writing by
                 Landlord;
            (r) damages to the Property caused by smoking, including but not limited to stains, burns, odors, and
                 removal of debris, and
            (s) costs to rekey certain security devices, as provided in Paragraph 19.

       (2) lf deductions exceed the security deposit, Tenant will pay to Landlord the excess within 10 days after
            Landlord makes written demand.

1{. UTILITIES:

   A. Tenant will pay all connection fees, service fees, usage fees, and all other costs and fees for all utilities to the
       Property (for example, electricity, gas, water, wastewater, garbage, telephone, alarm monitoring systems, cable,
       andlnternetconnections)exceptthefollowingwhichLandlordwillpay:
        Electricitv. Water. Gas & Internet Charges are included in the monthly rent of $3,000.00




    B. Unless provided by Landlord, Tenant must, at a minimum, keep the following utilities on, if available, at all times
       this lease is in effect: gas; electricity; water; wastewater; and garbage services.

        Notice: Before signing this lease, Tenant should determine if all necessary utilities are available to the
        Property and are adequate for Tenant's use.

12. USEANDOCCUPANCY:

   A. Occupants: Tenant may use the Property as a private residence only. The only persons Tenant may
      permit to reside on the Property during the term of this lease are (include names and ages of all
        occupants): l. Piya Mody -34 Years 2. Iai Mody -10 years 3. nanda Bhattacharya -68 years


    B. Phone Numbers and E-mail: Tenant must promptly inform Landlord of any changes in Tenant's phone numbers
        (home, work, and mobile) and e-mail not later than 5 days after a change.

    C. HOA Rules: Tenant must comply with any owners' association rules or restrictive covenants atfecting the
        Property. Tenant will reimburse Landlord for any fines or other charges assessed against Landlord for violations
        by Tenant of any owners' association rule or restrictive covenant, and any resulting administrative fees assessed
        by Landlord's agents or any other entity as provided by law.

    D. Prohibitions: Unless otherwise authorized by this lease, Tenant may not install or permit any of the following on
        the Property, even temporarily: a spa, hot tub, above-ground pool, trampoline, or any item which causes a
        suspension or cancellation of insurance coverage or an increase in insurance premiums. Tenant may not permit
        any part of the Property to be used for: (1) any activity which is a nuisance, offensive, noisy, or dangerous; (2) the
        repair of any vehicle; (3) any business of any type, including but not limited to child care; (4) any activity which
        violates any zoning ordinance, owners' association rule, or restrictive covenant; (5) any illegal or unlawful activity;
        or (6) activity that obstructs, interferes with, or infringes on the rights of other persons near the Property.


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    E. Guests: Tenant may not permit any guest to stay on the Property longer than the amount of time permitted by any
         owners'association rule or restrictive covenant or                                                              days without Landlord's written
         permission, whichever is less.

    F. Common Areas: Landlord is not obligated to pay any non-mandatory or user fees for Tenant's use of any common
         areas or facilities (for example, pool or tennis courts).

13. PARKTNG RULES: Tenant may not permit more than 3                        vehicles, including but not limited to automobiles,
    trucks, recreational vehicles, trailers, motorcycles, all-terrain vehicles, jet skis, and boats, on the Property unless
    authorized by Landlord in writing. Tenant may not park or permit any person to park any vehicles in the yard. Tenant
    may permit vehicles to be parked only in drives, garages, designated common parking areas, or in the street if not
    prohibited by law or an owners' association. Tenant may not store or permit any person to store any vehicles on or
    adjacent to the Property or on the street in front of the Property. ln accordance with applicable state and local laws,
    Landlord may have towed, at Tenant's expense: (a) any inoperative vehicle on or adjacent to the Property; (b) any
    vehicle parked in violation of this paragraph or any additional parking rules made part of this lease; or (c) any vehicle
    parked in violation of any law, local ordinance, or owners' association rule. Tenant must promptly inform Landlord of
    any changes in Tenant's vehicle information (type, year, make, model, and license plate number including state) not
    later than 5 days after a change.

14. AGGESS BY LANDLORD:

    A.   Advertising: Landlord may prominently display a "For Sale" or "For Lease" or similarly worded sign on the
         Property during the term of this lease or any renewal period. Landlord or Landlord's contractor may take interior or
         exterior photographs or images of the Property and use the photographs or images in any advertisements to
         lease or sell the Property.

    B.   Access: Before accessing the Property, Landlord or anyone authorized by Landlord will attempt to first contact
         Tenant, but may enter the Property at reasonable times without notice to make repairs or to show the Property to
         prospective tenants or buyers, inspectors, fire marshals, lenders, appraisers, or insurance agents. Additionally,
         Landlord or anyone authorized by Landlord may peacefully enter the Property at reasonable times without first
         attempting to contact Tenant and without notice to: (1) survey or review the Property's condition and take
         photographs to document the condition; (2) make emergency repairs; (3) exercise a contractual or statutory lien;
         (4) leave written notices; or (5) seize nonexempt property if Tenant is in default.

    c. Trip Charges: lf Landlord or Landlord's agents have made prior arrangements with Tenant to access the Property
         and are denied or are not able to access the Property because of Tenant's failure to make the Property accessible
         (including, but not limited to, any occupant, guest or invitee of Tenant, pet, or security device prohibiting access to
         any area of the Property), Landlord may charge Tenant a trip charge of $                       .   _
    D.   Keybox: A keybox is a locked container placed on the Property holding a key to the Property. The keybox
         is opened by a specia! combinationn key, or programmed access device so that persons with the access
         device may enter the Property, even in Tenant's absence. The keybox is a convenience but involves risk
         (such as unauthorized entry, theft, property damage, or personal injury). Neither the Association of
         REALTORS@ nor MLS requires the use of a keybox.

         (1) Tenant authorizes Landlord, Landlord's property manager, and Landlord's broker to place on the Property a
             keybox containing a key to the Property:
             (a) during the last                       days of this lease or any renewal or extension; and
             (b) at any time Landlord lists the Property for sale with a Texas licensed broker.




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         (2) Tenant may withdraw Tenant's authorization to place a keybox on the Property by providing written notice to
             Landlord and paying Landlord a fee of $                         as consideration for the withdrawal. Landlord
             will remove the keybox within a reasonable time after receipt of the notice of withdrawal and payment of the
             required fee. Removal of the keybox does not alleviate Tenant's obligation to make the Property available for
             showings as indicated in Paragraph 148.

         (3) lf Landlord or Landlord's agents are denied or are not able to access the Property after first attempting to
             contact Tenant, Landlord may charge Tenant a trip charge as provided in Paragraph 14C.

         (4) Landlord. the property manager. and Landlord's broker are not responsible to Tenant. Tenant's guests. family.
             or occuoants for any damages. injuries. or losses arising from use of the keybox unless caused by Landlord.
             the property manager. or Landlord's broker.

15. MOVE-IN CONDIT|ON:

    A. Landlord makes no express or implied warranties as to the Property's condition. Tenant has inspected the
         Property and accepts it AS{S provided that Landlord:
             Furnished with Furniture & Fixtures


    B. Tenant will complete an lnventory and Condition Form, noting any damages to the Property, and deliver it to
         Landlord within     rs        days after the Commencement Date. lf Tenant fails to timely deliver the lnventory
         and Condition Form, the Property will be deemed to be free of damages, unless otherwise expressed in this lease.
         The lnventory and Condition Form is not a request for repairs. Tenant must direct all requests for repairs in
         compliance with Paragraph 18.

16. MOVE-OUT:

    A. Move-Out Condition: When this lease ends, Tenant will surrender the Property in the same condition as when
         received, normal wear and tear excepted. Tenant will leave the Property in a clean condition free of all trash,
         debris, and any personal property. Tenant may not abandon the Property.

    B. Definitions:
         (1) "Normal wear and fear" means deterioration that occurs without negligence, carelessness, accident, or abuse.
         (2) "Surrender" occurs when all occupants have vacated the Property, in Landlord's reasonable judgment, and
             one of the following events occurs:
             (a) the date Tenant specifies as the move-out or termination date in a written notice to Landlord has passed; or
             (b) Tenant returns keys and access devices that Landlord provided to Tenant under this lease.

         (3) "Abandonment" occurs when all of the following occur:
             (a) all occupants have vacated the Property, in Landlord's reasonable judgment;
             (b) Tenant is in breach of this lease by not timely paying rent; and
             (c) Landlord has delivered written notice to Tenant, by affixing it to the inside of the main entry door or if the
                  Landlord is prevented from entering the Property by affixing it to the outside of the main entry door, stating
                  that Landlord considers the Property abandoned, and Tenant fails to respond to the affixed notice by the
                  time required in the notice, which will not be less than 2 days from the date the notice is affixed to the
                  main entry door.




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   C. Personal Property Left After Move-Out:
       (1) lf Tenant leaves any personal property in the Property after surrendering or abandoning the Property Landlord
           may:
           (a) dispose of such personal property in the trash or a landfill;
           (b) give such personal property to a charitable organization; or
           (c) store and sell such personal property by following procedures in $54.045(b)-(e), Property Code.

       (2) Tenant must reimburse Landlord all Landlord's reasonable costs under Paragraph 16C(1) for packing,
           removing, storing, and selling the personal property left in the Property after surrender or abandonment.

17. PROPERry MAINTENANCE:

   A. Tenant's General Responsibilities: Tenant, at Tenant's expense, must:
      (1) keep the Property clean and sanitary;
      (2) promptly dispose of all garbage in appropriate receptacles;
      (3) supply and change heating and air conditioning filters at least once a month;
      (4) supply and replace all light bulbs, fluorescent tubes, and batteries for smoke alarms, carbon monoxide
           detectors, garage door openers, ceiling fan remotes, and other devices (of the same type and quality that
           are in the Property on the Commencement Date);
       (5) maintain appropriate levels of necessary chemicals or matter in any water softener;
       (6) take action to promptly eliminate any dangerous condition on the Property;
       (7) take all necessary precautions to prevent broken water pipes due to freezing or other causes;
       (8) replace any lost or misplaced keys;
       (9) pay any periodic, preventive, or additional extermination costs desired by Tenant, including treatment for bed
            bugs, unless othenuise required by law;
       (10) remove any standing water;
       (11) knowthe location and operation of the main watercut-off valve and all electric breakers and howto switch
            the valve or breakers off at appropriate times to mitigate any potential damage;
       (12) water the foundation of the Property at reasonable and appropriate times; and
       (13) promptly notify Landlord, in writing, of allneeded repairs.
' B. Yard Maintenance:
       (1) 'Yard'means all lawns, shrubbery, bushes, flowers, gardens, trees, rock or other landscaping, and other
           foliage on or encroaching on the Property or on any easement appurtenant to the Propefty, and does not
           include common areas maintained by an owners'association.

       (2\ 'Maintain the yard" means to perform activities such as, but not limited to: (a) mowing, fertilizing, and trimming
           the yard; (b) controlling pests and weeds in the yard; and (c) removing debris from the yard.

       (3) Unless prohibited by ordinance or other law, Tenant will water the yard at reasonable and appropriate times
           including but not limited to the following times:

                                                                                . Other than watering, the yard will be maintained as follows:




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        E (a) Landlord, at Landlord's expense, will maintain the yard. Tenant will permit Landlord and Landlord's
                  contractors reasonable access to the yard and will remove any pet from the yard at appropriate times,

        E (b) Tenant, at Tenant's expense, will maintain the yard.
        ! (c) Tenant will maintain in etfect a scheduled yard maintenance contract with: ! a contractor who regularly
              provides such service; n                                                                                                                  .



    C. Pool/Spa Maintenance: Any pool or spa on the Property will be maintained according to a Pool/Spa Maintenance
        Addendum.

    D. Prohibitions: lf Tenant installs any fixtures on the Property, authorized or unauthorized, such as additional smoke
        alarms, additional carbon monoxide detectors, locks, alarm systems, cables, satellite dishes, or other fixtures,
        such fixtures will become the property of the Landlord. Except as othenrvise permitted by law, this lease, or in
        writing by Landlord, Tenant may not:
        (1) remove any part of the Property or any of Landlord's personal property from the Property;
         (2) remove, change, add, or rekey any lock;
         (3) make holes in the woodwork, floors, or walls, except that a reasonable number of small nails may be used to
             hang pictures in sheetrock and grooves in paneling;
         (4) permit any water furniture on the Property;
         (5) install additional phone or video cables, outlets, antennas, satellite receivers, or alarm systems;
         (6) alter, replace or remove flooring material, paint, or wallpaper;
         (7) install, change, or remove any: fixture, appliance, or non-real-property item listed in Paragraph 2;
         (8) keep or permit any hazardous material on the Property such as flammable or explosive materials;
         (9) keep or permit any material or item which causes any liability or fire and extended insurance coverage to be
             suspended or canceled or any premiums to be increased;
         (10) dispose of any environmentally detrimental substance (for example, motor oil or radiator fluid) on the
             Property;
         (11) cause or allow any lien to be filed against any portion of the Property; or
         (12)disconnect or intentionally damage any carbon monoxide detector, or othenruise violate any local ordinance
             requiring a carbon monoxide detector in the Property.

    E. Failure to Maintain: lf Tenant fails to comply with this Paragraph 17 or any Pool/Spa Maintenance Addendum,
         Landlord may, in addition to exercising Landlord's remedies under Paragraph 27, perform whatever action Tenant
         is obligated to perform and Tenant must immediately reimburse Landlord the reasonable expenses that Landlord
         incurs plus any administrative fees assessed by Landlord's agents or any other entity as provided by law.

    F. Smoking: Smoking by Tenant, Tenant's guests, family, or occupants is I permitted ! not permitted on the
         Property (including, but not limited to, the garage or outdoor areas of the Property). lf smoking is not permitted
         and does occur on the Property, Tenant will be in default and:
         (1) Landlord may exercise Landlord's remedies under Paragraph 27; and
         (2) Landlord may deduct from the security deposit damages to the Property caused by smoking, including but not
             limited to stains, burns, odors, and removal of debris.

18. REPAIRS: (Notice: Subchapter B, Chapter 92, Property Code governs repair obligations).

    A. Repair Requests: All requests for repairs must be in writing and delivered to Landlord. If Tenant is
         delinquent in rent at the time a repair notice is given, Landlord is not obligated to make the repair. In the
         event of an emergency related to the condition of the Property that materially affects the physical health
         or safety of an ordinary tenant, Tenant may call Landlord or, if applicable, the property manager, at
                                            . Ordinarily, a repair to the heating and air conditioning system is not an
         emergency.


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    B.   NOTICE: lf Landlord fails to repair a condition that materially affects the physical health or safety of an
         ordinary tenant as required by this lease or the Property Code, Tenant may be entitled to exercise
         remedies under 592.056 and $92.0561 of the Property Code. lf Tenant follows the procedures under those
         sections, the following remedies may be available to Tenant: (1) terminate the lease and obtain an
         appropriate refund under S92.056(f); (2) have the condition repaired or remedied according to 592.0561;
         (3) deduct from the rent the cost of the repair or remedy according to $92.0561; and (4) obtain judicial
         remedies according to $92.0563. Do not exercise these remedies without consulting an attorney or
         carefully reviewing the procedures under the applicable sections. The Propefi Code presumes that 7
         days is a reasonable period of time for the Landlord to make a diligent effort to repair a condition unless
         there are circumstances which establish that a different period of time is appropriate (such as the
         severity and nature of the condition and the availability of materials, labor, and utilities). Failure to strictly
         follow the procedures in the applicable sections may cause Tenant to be in default of the lease.

    c. Gompletion of Repairs:

         (1) Tenant may not repair or cause to be repaired any condition, regardless of the cause, without
             Landlord's permission. All decisions regarding repairs, including the completion of any repair,
             whether to repair or replace the item, and the selection of contractors, will be at Landlord's sole
             discretion.

         (2) Landlord is not obligated to complete a repair on a day other than a business day unless required to
             do so by the Property Code.

    D.   Payment of Reoair Costs:

         (1) Except as otherwise specified in this lease, Landlord will pay to repair or remedy conditions in the
             Property in need of repair if Tenant complies with the procedures for requesting repairs as described
             in this Paragraph 18. This includes, but is not limited to, repairs to the following items not caused by
             Tenant or Tenant's negligence:
             (a) heating and air conditioning systems;
             (b) water heaters; or
             (c) water penetration from structural defects

         (2) Landlord will NOT pay to repair the following items unless caused by Landlord's negligence:
             (a) conditions caused by Tenant, an Occupant, or any guest or invitee of Tenant;
             (b) damage to doors, windows, and screens;
             (c) damage from windows or doors Ieft open;
             (d) damage from wastewater stoppages caused by foreign or improper objects in lines that
                 exclusively serye the Property;
             (e) items that are cosmetic in nature with no impact on the functionality or use of the item; and
             (f) the following specific items or appliances:




    E. Trip Charges: lf a repair person is unable to access the Property after making arrangements with Tenant
         to complete the repair, Tenant will pay any trip charge the repair person may charge, which amount may
         be different from the amount stated in Paragraph 14C.




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Residential Lease concerning: 3905 Kite Meadow Drive, Plano TX-75074

    F. Advance Payments and Reimbursements: Landlord may require advance payment of repairs or payments
        under this Paragraph 18 for which Tenant is responsible. Tenant must promptly reimburse Landlord the
        amounts under this Paragraph 18 for which Tenant is responsible.

19. SECURITY DEVICES AND EXTERIOR DOOR LOCKS:

   A. Subchapter D, Chapter 92, Property Code requires the Property to be equipped with certain types of locks and
        security devices, including (with some exceptions): (1)window latches on each window; (2) a keyed doorknob
        lock or keyed deadbolt lock on each exterior door; (3) a sliding door pin lock on each exterior sliding glass door of
        the dwelling; (4) a sliding door handle latch or a sliding door security bar on each exterior sliding glass door of the
        dwelling; and (5) a keyless bolting device and a door viewer on each exterior door of the dwelling. Landlord has
        rekeyed the security devices since the last occupant vacated the Property or will rekey the security devices within
        7 days after Tenant moves in. "Security device" has the meaning assigned to that term in S92.151, Property Code.

    B. All notices or requests by Tenant for rekeying. chanoing. installing. reoairing. or replacing security devices must
        be in writing. lnstallation of additional security devices or additional rekeying or replacement of security devices
        desired by Tenant may be paid by Tenant in advance in accordance with $92.162(c). Property Code. and maLbe
        installed onlv bv contractors authorized bv Landlord.

    C. lf Tenant vacates the Property in breach of this lease. Landlord may deduct from the security deposit reasonable
        costs incurred by Landlord to rekey security devices as authorized by $92.156(e). Property Code.

20, SMOKE ALARMS: Subchapter F, Chapter 92, Property Code requires the Property to be equipped with smoke
    alarms in certain locations. Requests for additional installation. inspection. or repair of smoke alarms must be in
    writing. Disconnecting or intentionally damaging a smoke alarm or removing a battery without immediately replacing it
    with a working battery may subject Tenant to civil penalties and liability for damages and attorney fees under
    $92.261 1. Property Code.

21. LIABILITY: Unless caused by Landlord, Landlord is ret responsible to Tenant, Tenant's guests, family, or occupants
    for any damages, injuries, or losses to person or property caused by fire, flood, water leaks, ice, snow, hail, winds,
    explosion, smoke, interruption of utilities, theft, burglary, robbery, assault, vandalism, other persons, condition of the
    Property, environmental contaminants (for example, carbon monoxide, asbestos, radon, lead-based paint, mold,
    fungus, etc.), or other occurrences or casualty losses. Unless prohibited by law, Tenant will promptly reimburse
    Landlord for any damages. injuries. or losses to person or property caused by Tenant. Tenant's guests. any
    occupants. or any pets or assistance animals. includino cost of repairs or service to the Property.

22. HOLDOVER: lf Tenant fails to vacate the Property at the time this lease ends Tenant will pay Landlord rent for the
    holdover period and indemnify Landlord and prospective tenants for damages, including but not limited to lost rent,
    lodging expenses, costs of eviction, and attorneys' fees. Rent for any holdover period will be three (3) times the
    monthly rent, calculated on a daily basis, and will be immediately due and payable daily without notice or demand.

23. RESIDENTIAL LANDLORD'S LIEN: Landlord will have a lien for unpaid rent against all of Tenant's nonexempt
    personal property that is in the Property and may seize such nonexempt property if Tenant fails to pay rent.
    Subchapter C. Chapter 54. Property Code governs the rights and obligations of the parties regarding Landlord's lien.
    Landlord may collect a charge for packing. removing. or storing property seized in addition to any other amounts
    Landlord is entitled to receive. Landlord may sell or dispose of any seized property in accordance with the provisions
    of S54.045. Property Code.

24. SUBORDINATION: This lease and Tenant's leasehold interest are and will be subject, subordinate, and inferior to: (i)
    any lien or encumbrance now or later placed on the Property by Landlord; (ii) all advances made under any such lien
    or encumbrance; (iii) the interest payable on any such lien or encumbrance; (iv) any and all renewals and extensions
    of any such lien or encumbrance; (v) any restrictive covenant; and (vi) the rights of any owners' association affecting
    the Property.


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Residential Lease concerning:      3905 Kite Meadow Drive, Plano TX-75074

25, CASUALTY LOSS OR GONDEMNATION: Section 92.054, Property Gode governs the rights and obligations of the
    parties regarding a casualty loss to the Property. Any proceeds, payment for damages, settlements, awards, or other
    sums paid because of a casualty loss to the Property will be Landlord's sole property. For the purpose of this lease,
    any condemnation of all or a part of the Property is a casualty loss.

26. SPECIAL PROVISIONS: (Do not inseft a lease-option or lease-purchase clause without fhe asslsfance of legal
    counsel. Specra/ obligations and liabilities under statute apply to such transactions.)




27. DEFAULT:

    A. lf Landlord fails to comply with this lease, Tenant may seek any relief provided by law.
    B. lf Tenant fails to timely pay all amounts due under this lease or otherwise fails to comply with this lease, Tenant
        will be in default and:
        (1) Landlord may terminate Tenant's right to occupy the Property by providing Tenant with at least one day
             written notice to vacate;
         (2) all unpaid rents which are payable during the remainder of this lease or any renewal period will be
             accelerated without notice or demand;
         (3) Landlord may exercise Landlord's lien under Paragraph 23 and any other rights under this lease or the
             Property Code; and
         (4) Tenant will be liable for:
             (a) any lost rent;
             (b) Landlord's cost of reletting the Property including but not limited to leasing fees, advertising fees, utility
                 charges, and other fees reasonably necessary to relet the Property;
             (c) repairs to the Property for use beyond normal wear and tear;
             (d) all Landlord's costs associated with eviction of Tenant, including but not limited to attorney's fees, court
                 costs, costs of service, witness fees, and prejudgment interest;
             (e) all Landlord's costs associated with collection of amounts due under this lease, including but not limited to
                 collection fees, late charges, and returned check charges; and
             (f) any other recovery to which Landlord may be entitled by law.
    C. Notice to vacate under Paragraph 27P(1) may be by any means permitted by $24.005, Property Code.
    D. lf Tenant vacates the Property in breach of this lease, Landlord may also deduct from the security deposit the
         reasonable costs to rekey certain security devices, as provided in Paragraph 19.

    E. Landlord will attempt to mitigate any damage or loss caused by Tenant's breach by attempting to relet the
         Property to acceptable tenants and reducing Tenant's liability accordingly.

28. EARLY TERMINATION: This lease begins on the Commencement Date and ends on the Expiration date unless: (i)
    renewed under Paragraph 4; (ii) extended by written agreement of the parties; or (iii) terminated earlier under
    Paragraph 27,by agreementof the parties, applicable law, orthis Paragraph 28. Unless otherwise provided by law,
    Tenant is not entitled to early termination due to voluntary or involuntary job or school transfer, changes in marital
    status, loss of employment, loss of co-tenants, changes in health, purchase of property, or death.



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Residential Lease concerning:     3905 Kite Meadow Drive, Plano TX-75O74

    A.   Special Statutory Rights Tenants may have special statutory rights to terminate the lease early in certain
         situations involving family violence, military deployment or transfer, or certain sex offenses or stalking.

         (1) Military: lf Tenant is or becomes a servicemember or a dependent of a servicemember, Tenant may terminate
             this lease by delivering to Landlord a written notice of termination and a copy of an appropriate government
             document providing evidence of (a) entrance into military service; (b) military orders for a permanent change
             of station (PCS); or (c) military orders to deploy with a military unit for not less than 90 days. Termination is
             effective on the 30th day after the first date on which the next rental payment is due after the date on which
             the notice is delivered. S92.017, Property Code governs the rights and obligations of the parties under this
             paragraph.

         (2) Family Violence: Tenant may terminate this lease if Tenant provides Landlord with a copy of documentation
             described under $92.016, Property Code protecting Tenant or an occupant from family violence committed by
             a cotenant or occupant of the Property. S92.016, Property Code governs the rights and obligations of the
             parties under this paragraph. lf the family violence is committed by someone other than a cotenant or co-
             occupant of the Property, Tenant must give written notice of termination 30 days prior to the effective date of
             the notice.

         (3) Sex Offenses or Stalking: Tenant may have special statutory rights to terminate this lease in certain situations
             involving certain sexual offenses or stalking, if the Tenant provides Landlord with the documentation required
             by $92.0161, Property Code. For more information about the types of situations covered by this provision,
             Tenant is advised to review 592.0161, Property Code.

    B.   Assionment. Sublettino and Replacement Tenants:

         (1) Tenant may not assign this lease or sublet the Property without Landlord's written consent.

         (2) lf Tenant requests an early termination of this lease under this Paragraph 28B, Tenant may attempt to find a
             replacement tenant and may request Landlord to do the same. Landlord may, but is not obligated to, attempt
             to find a replacement tenant under this paragraph.

         (3) Any assignee, subtenant, or replacement tenant must, in Landlord's discretion, be acceptable as a tenant and
             must sign: (a) a new lease with terms not less favorable to Landlord than this lease or otherwise acceptable
             to Landlord; (b) a sublease with terms approved by Landlord; or (c) an assignment of this lease in a form
             approved by Landlord.

         (4) At the time Landlord agrees to permit an assignee, subtenant, or replacement tenant to occupy the Property,
             Tenant will pay Landlord:
             (a) if Tenant procures the assignee, subtenant, or replacement tenant:
             tr (i) $_.
             I(ii)-%ofone'smonthrentthattheassignee,subtenant,orreplacementtenantistopay.
             (b) if Landlord procures the assignee, subtenant, or replacement tenant:
             I (i) $_.
             tr(ii)-7oofone'smonthrentthattheassignee,subtenant,orreplacementtenantistopay'
         (5) Unless expressly stated othenruise in an assignment or sublease, Tenant will not be released from Tenant's
             obligations under this lease because of an assignment or sublease. An assignment of this lease or a sublease
             of this lease without Landlord's written consent is voidable by Landlord.




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Residential Lease concerning:      3905 Kite Meadow Drive, Plano TX-75074

29. ATTORNEY'S FEES: Any person who is a prevailing party in any legal proceeding brought under or related to the
    transaction described in this lease is entitled to recover prejudgment interest, attorney's fees, costs of service, and all
    other costs of the legal proceeding from the non-prevailing party.

30. REPRESENTATIONS: Tenant's statements in this lease and any application for rental are material representations.
    Each party to this lease represents that he or she is of legal age to enter into a contract. lf Tenant makes a
    misrepresentation in this lease or in an application for rental, Tenant is in default.

3{. ADDENDA: lncorporated into this lease are the following addenda, exhibits and other information. lf Landlord's Rules
    and Regulations are made part of this lease, Tenant agrees to comply with the Rules and Regulations as Landlord
    may, at Landlord's discretion, amend from time to time.

    u Addendum Regarding Lead-Based Paint                                             u Agreement Between Brokers
    u lnventory & Condition Form                                                      u Landlord's Rules & Regulations
    E Landlord's Additional Parking Rules                                             tr Owners' Association Rules
    E Pet Agreement                                                                   T Pool/Spa Maintenance Addendum
    T Protecting Your Home from Mold                                                  T Residential Lease Application
    E Residential Lease Guaranty                                                      E Bed Bug Addendum
    T                                                                                 u
    E                                                                                 I
32. NOTICES: All notices under this lease must be in writing and are effective when hand-delivered, sent by mail, or sent
    by electronic transmission to (Do not insefi an e-mail address or a fax number unless the party consenfs to receive
    notices under fhis /ease at the e-mailaddress or fax number specified.):

    Tenant at the Property and a copy to:                                             Landlord c/o:




    E-mail:                                                                           E-mail:
    Fax:                                                                              Fax:

33. AGREEMENT OF PARTIES:

    A. Entire Agreement: There are no oral agreements between Landlord and Tenant. This lease contains the entire
         agreement between Landlord and Tenant and may not be changed except by written agreement.

    B, Binding Effect: This lease is binding upon and inures to the benefit of the parties to this lease and their respective
         heirs, executors, administrators, successors, and permitted assigns.

    C. Joint and Several: All Tenants are jointly and severally liable for all provisions of this lease. Any act or notice to,
         refund to, or signature of, any one or more of the Tenants regarding any term of this lease, its extension, its
         renewal, or its termination is binding on all Tenants executing this lease.

    D. Waiver: Landlord's past delay, waiver, or non-enforcement of a rental due date or any other right will not be
         deemed to be a waiver of any other breach by Tenant or any other right in this lease.

    E. Severable Clauses: Should a court find any clause in this lease unenforceable, the remainder of this lease will not
         be affected and all other provisions in this lease will remain enforceable.




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Residential Lease concerning: 3905 Kite Meadow Drive                              Plano TX-75O74

   F. Controlling Law: The laws of the State of Texas govern the interpretation, validity, performance, and enforcement
        of this lease.

   G. Copyright: lf an active REALTOR@ member of Texas REALTORS@ does not negotiate this lease as a
        party or for one of the parties, with or without assistance by an active member of the State Bar of Texas,
        this lease is voidable at will by Tenant.

34. INFORMATION:

   A. Future inquiries about this lease, rental payments, and security deposits should be directed to the person listed
        for receipt of notices for Landlord under Paragraph 32.

   B, lt is Tenant's responsibility to determine, before signing this lease, if: (i) all services (e.9., utilities, connections,
        schools, and transportation) are accessible to or from the Property; (ii) such services are sufficient for Tenant's
        needs and wishes; and (iii) Tenant is satisfied with the Property's condition.

   C. The brokers to this lease have no knowledge of whether Landlord is delinquent in the payment of any lien against
        the Property.

   D. Unpaid rent and any unpaid amount under this lease are reportable to credit reporting agencies.
   E. Landlord is not obligated to respond to any reguests for Tenant's rental and payment history from a mortgage
        company or other prospective landlord until Tenant has given notice of termination of this lease and Tenant is not
        in breach of this lease. (Nofice: Landlord or Landlord's agent may charge a reasonable fee for processing such
        information).

   F. lf all occupants over 18 years of age die during this lease, Landlord may: (i) permit the person named below to
        access the Property at reasonable times in Landlord's or Landlord's agent's presence; (ii) permit the named
        person to remove Tenant's personal property; and (iii) refund the security deposit, less deductions, to the named
        person. Section 92.014, Property Code governs procedures to follow regarding a deceased tenant's personal
        property and security deposit.
            Name:                                                                                                    Phone:
            Address:
            E-mail:

   G.   The Texas Department of Public Safety maintains a database that the public may search, at no cost, to determine
        if registered sex offenders are located in certain areas (see https://publicsite.dps.texas.gov/SexOffenderRegistry
        under on-line services). For information concerning past criminal activity in certain areas, contact the local police
        department.

   H.   Landlord's insurance does not cover Tenant from loss of personal property. Landlord highly recommends that
        Tenant obtain liability insurance and insurance for casualties such as fire, flood, water damage, and theft.

   l.   Landlord's broker,
        lwill lwill not act as the property manager for landlord. lf Property is not managed by above-named broker,
        Property will be managed by              ! Landlord or ! property manager for Landlord:
        Name of property manager:                                                                                     Phone:
        Address:                                                                                                      E-mail:




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Residential Lease concerning: 3905 Kite Meadow Drive. Plano TX-75074

      J. This lease should not be used in conjunction with executory contracts of any type, such as contracts for deed,
         leases with options to purchase, or lease options, without the advice of an attorney.

      K. This lease is negotiable between the parties. This lease is binding upon final acceptance. READ lT
         CAREFULLY. lf you do not understand the effect of this lease, consult your attorney BEFORE signing.



                                                                                               \\n^fuT                                             odls.l,,=,

Landlord                                                                Date         Tenant                                                              Date


Or signed for Landlord under written property management
                                                                                     Tenant                                                              Date
agreement or power of attorney:

By:
                                                                        Date         Tenant                                                              Date


Broker's Associate's Printed Name


Broker's Printed Name                                        License No.


Firm Name




                                                                    For Landlord's Use:

          On 061301202r                                * (date), Landlord provided a copy of the lease, signed by all parties, to
                                                                                         (Tenant) by        I mail ! e-mail I fax f in person.
          Wofe: Landlord must provide at least one copy of the lease to at least one Tenant no later than three
          business days after the date the lease is srgned by each party to the lease. Additionally, if more than one
          tenant is a party to the lease, no later than three business days after the date the Landlord receives a
          written request for a copy of a lease from a tenant who has not already received one as required above,
          the Landlord must provide a copy to the requesting tenant. Landlord may provide the copy of the lease in:
          (1) a paper format; (2) an electronic format if requested by the tenant; or (3) by e-mail if the parties have
          communicated by e-mail regarding the lease. See $ 92.024, Property Code, for more details.




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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 In re:                                        §
                                               §        Case No. 23-41386
 Sidhartha Mukherjee and                       §
 Sunita Mukherjee                              §
                                               §        Chapter 13
                                               §
          Debtors                              §


               ORDER GRANTING CEASONS HOLDINGS, LLC’S MOTION TO
                    DISMISS CASE WITH PREJUDICE TO REFILING

          On September __, 2023, the Court considered the Motion to Dismiss Case with Prejudice to

 Refiling (the “Motion”) filed by Ceasons Holdings, LLC ("Movant"). The Court finds that the

 Motion was properly served pursuant to the Federal and Local Rules of Bankruptcy Procedure and

 that it contained the appropriate negative notice language which directed any party opposed to the

 granting of the relief sought by the Motion to timely file a written response or the Motion would be

 deemed by the Court to be unopposed. The Court finds that no objection or other written response to

 the Motion has been timely filed by any party. Due to the failure of any party to file a timely written

 response, the allegations contained in the Motion stand unopposed and, therefore, the Court finds

 that good cause exists for the entry of the following order.

          IT IS THEREFORE ORDERED that this case is hereby DISMISSED, WITH PREJUDICE

 to refiling a case under any Chapter of Title 11 U.S.C. for a period of six (6) months, and that all

 debts due and owing creditors as of this date are NOT DISCHARGED or affected in any manner by

 this Order.
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 4                                    UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF TEXAS
 5                                            SHERMAN DIVISION
      IN RE:                                                       CASE NO: 23-41386
 6
       SIDHARTHA MUKHERJEE                                         DECLARATION OF MAILING
       SUNITA MUKHERJEE                                            CERTIFICATE OF SERVICE
 7
                                                                   Chapter: 13
 8

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10

11   On 9/14/2023, I did cause a copy of the following documents, described below,
     MOTION TO DISMISS CASE WITH PREJUDICE TO REFILING
12

13

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18
     to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
19   sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
     incorporated as if fully set forth herein.
20   I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
     com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
21   Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
     fully set forth herein.
22
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
     served electronically with the documents described herein per the ECF/PACER system.
23
     DATED: 9/14/2023
24                                                    /s/ Howard Marc Spector
                                                      Howard Marc Spector 785023
25
                                                      Spector & Cox, PLLC
26                                                    12770 Coit Rd Ste 850
                                                      Dallas, TX 75251-1329
27                                                    214 365 5377
                                                      ahawkins@spectorcox.com
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 3
                                       UNITED STATES BANKRUPTCY COURT
 4                                        EASTERN DISTRICT OF TEXAS
                                               SHERMAN DIVISION
 5
        IN RE:                                                           CASE NO: 23-41386
 6
        SIDHARTHA MUKHERJEE                                              CERTIFICATE OF SERVICE
        SUNITA MUKHERJEE                                                 DECLARATION OF MAILING
 7
                                                                         Chapter: 13
 8

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10

11   On 9/14/2023, a copy of the following documents, described below,

     MOTION TO DISMISS CASE WITH PREJUDICE TO REFILING
12

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14

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19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 9/14/2023
23

24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Howard Marc Spector
                                                                  Spector & Cox, PLLC
28                                                                12770 Coit Rd Ste 850
                                                                  Dallas, TX 75251-1329
USPS FIRST CaseCase
           CLASS 23-41386
                     23-41386
                 MAILING       DocDoc
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CASE INFO
1LABEL MATRIX FOR LOCAL NOTICING         ALLY CAPITAL CO AIS PORTFOLIO SERVICES   ALLY FINANCIAL
05404                                    LL                                       ATTN BANKRUPTCY
CASE 23-41386                            4515 N SANTA FE AVE DEPT APS             PO BOX 130424
EASTERN DISTRICT OF TEXAS                OKLAHOMA CITY OK 73118-7901              SAINT PAUL MN 55113-0004
SHERMAN
THU SEP 14 15-02-18 CDT 2023




AMERICAN EXPRESS NATIONAL BANK           AMEX                                     RAHUL ATHALE
CO BECKET AND LEE LLP                    PO BOX 981540                            CO JOYCE W LINDAUER
PO BOX 3001                              EL PASO TX 79998-1540                    JOYCE W LINDAUER ATTORNEY PLLC
MALVERN PA 19355-0701                                                             1412 MAIN ST SUITE 500
                                                                                  DALLAS TX 75202-4042




ATTORNEY GENERAL OF TEXAS                BANK OF AMERICA                          LARRY R BOYD
BANKRUPTCY SECTION                       PO BOX 982238                            ABERNATHY ROEDER BOYD HULLETT PC
400 SOUTH ZANG STE 1100                  EL PASO TX 79998-2238                    1700 REDBUD BLVD SUITE 300
DALLAS TX 75208-6646                                                              MCKINNEY TX 75069-3276




COLLIN COUNTY TAX ASSESSORCOLLECTOR      COLLIN COUNTY TAX ASSESSORCOLLECTOR      CEASONS HOLDINGS
ABERNATHY ROEDER BOYD HULLETT PC         ABERNATHY ROEDER BOYD HULLETT PC         16818 DALLAS PKWY 200
1700 REDBUD BLVD SUITE 300               1700 REDBUD BLVD SUITE 300               DALLAS TX 75248-1919
MCKINNEY TX 75069-3276                   MCKINNEY TEXAS 75069-3276




CEASONS HOLDINGS LLC                     COLLIN COUNTY TAX ASSESSOR               CONNIE JULIO QUINTANA
CO HOWARD MARC SPECTOR                   2300 BLOOMDALE RD 2324                   CO JOHNATHAN WHARTON
12770 COIT RD ST 850                     MCKINNEY TX 75071-8517                   PO BOX 472027
DALLAS TX 75251                                                                   FORT WORTH TX 76147-0227




DISCOVER BANK                            CAREY D EBERT                            EMILY M HAHN
DISCOVER PRODUCTS INC                    P O BOX 941166                           ABERNATHY ROEDER BOYD HULLETT PC
PO BOX 3025                              PLANO TX 75094-1166                      1700 REDBUD BLVD
NEW ALBANY OH 43054-3025                                                          STE 300
                                                                                  MCKINNEY TX 75069-3276




INTERNAL REVENUE SERVICE                 INTERNAL REVENUE SERVICE                 PRASHANT JADHAV
IRS SBSE INSOLVENCY AREA 10              PO BOX 7346                              CO JOYCE W LINDAUER
1100 COMMERCE ST MC 5026 DAL             PHILADELPHIA PA 19101-7346               JOYCE W LINDAUER ATTORNEY PLLC
DALLAS TX 75242-1100                                                              1412 MAIN ST SUITE 500
                                                                                  DALLAS TX 75202-4042




JOHN DAVENPORT                           JUJAAR SINGH                             LAW OFFICE OF JOHNATHAN WHARTON
16818 DALLAS PARKWAY                     CO SHAHID MANZOOR ESQ                    JOHNATHAN WHARTON
DALLAS TX 75248-1919                     3017 DOUGLAS BLVD SUITE 104              PO BOX 472027
                                         ROSEVILLE CA 95661-3837                  FORT WORTH TX 76147-0227




LEE LAW FIRM PLLC                        JOYCE W LINDAUER                         LINEBARGER GOGGAN BLAIR ET AL
ATTN SUSAN HUDSON                        JOYCE LINDAUER ATTORNEY                  2323 BRYAN 1600
8701 BEDFORD EULESS RD 510               1412 MAIN STREET                         DALLAS TX 75201-2637
HURST TX 76053-3874                      SUITE 500
                                         DALLAS TX 75202-4042
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PAUL M LOPEZ                             SESHU MADABUSHI                          MANZOOR LAW FIRM INC
ABERNATHY ROEDER BOYD HULLETT PC         CO JOYCE W LINDAUER                      3017 DOUGLAS BLVD 104
1700 REDBUD BLVD                         JOYCE W LINDAUER ATTORNEY PLLC           ROSEVILLE CA 95661-3837
STE 300                                  1412 MAIN ST SUITE 500
MCKINNEY TX 75069-3276                   DALLAS TX 75202-4042




MANZOOR LAW FIRM INC                     MERCEDES BENZ FINANCIAL                  MERCEDESBENZ FINANCIAL SERVICES USA LLC
SHAHID MANZOOR ESQ                       PO BOX 961                               CO BK SERVICING LLC
3017 DOUGLAS BLVD SUITE 104              ROANOKE TX 76262-0961                    PO BOX 131265
ROSEVILLE CA 95661-3837                                                           ROSEVILLE MN 55113-0011




                                         DEBTOR
JAMES M MORRISON                         SIDHARTHA MUKHERJEE                      SUNITA MUKHERJEE
LEE LAW FIRM PLLC                        3905 KITE MEADOW DRIVE                   3905 KITE MEADOW DRIVE
8701 W BEDFORD EULESS RD                 PLANO TX 75074-7757                      PLANO TX 75074-7757
SUITE 510
HURST TX 76053-3874




JAIESH NARSIAN                           PNC BANK RETAIL LENDING                  PLANO ISD
CO JOYCE W LINDAUER                      P O BOX 94982                            CO PERDUE BRANDON FIELDER ET AL
JOYCE W LINDAUER ATTORNEY PLLC           CLEVELAND OH 44101-4982                  1919 S SHILOH ROAD SUITE 640 LB 40
1412 MAIN STREET SUITE 500                                                        GARLAND TX 75042-8234
DALLAS TX 75202-4042




GARLAND ISD                              HARPREET SINGH                           PRABHA SINGH
ATTN CO PERDUE BRANDON ET AL             CO JOYCE W LINDAUER                      CO JOYCE W LINDAUER
1919 S SHILOH ROAD                       JOYCE W LINDAUER ATTORNEY PLLC           JOYCE W LINDAUER ATTORNEY PLLC
SUITE 640 LB 40                          1412 MAIN ST SUITE 500                   1412 MAIN ST SUITE 500
GARLAND TX 75042-8234                    DALLAS TX 75202-4042                     DALLAS TX 75202-4042




HOWARD MARC SPECTOR                      TEXAS COMPTROLLER OF PUBLIC ACCOUNTS     THDCBNA
SPECTOR COX PLLC                         REVENUE ACCOUNTING DIV BANKRUPTCY        PO BOX 6497
12770 COIT RD                            SECTION                                  SIOUX FALLS SD 57117-6497
SUITE 850                                PO BOX 13528
DALLAS TX 75251-1364                     AUSTIN TX 78711-3528




TEXAS ALCOHOL BEVERAGE COMMISSION        TEXAS EMPLOYMENT COMMISSION              TOYOTA FINANCIAL SERVICES
LICENSES AND PERMITS DIVISION            TEC BUILDING BANKRUPTCY                  6565 HEADQUARTERS DR
PO BOX 13127                             101 E 15TH STREET                        PLANO TX 75024-5965
AUSTIN TX 78711-3127                     AUSTIN TX 78778-0001




TOYOTA MOTOR CREDIT CORPORATION          TRUIST BANK                              TRUIST BANK SUPPORT SERVICES
PO BOX 9013                              PO BOX 1847                              PO BOX 85092
ADDISON TEXAS 75001-9013                 WILSON NC 27894-1847                     RICHMOND VA 23285-5092




US ATTORNEY GENERAL                      US SMALL BUSINESS ADMINISTRATION         US SMALL BUSINESS ADMINISTRATION
DEPARTMENT OF JUSTICE                    409 3RD ST SW                            PO BOX 830794
MAIN JUSTICE BUILDING                    WASHINGTON DC 20416-0002                 BIRMINGHAM AL 35283-0794
10TH CONSTITUTION AVE NW
WASHINGTON DC 20530-0001
USPS FIRST CaseCase
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US TRUSTEE                               UNITED STATES ATTORNEY                   UNITED STATES ATTORNEY GENERAL
OFFICE OF THE US TRUSTEE                 110 NORTH COLLEGE AVE 700                MAIN JUSTICE BUILDING
110 N COLLEGE AVE                        TYLER TX 75702-0204                      10TH AND CONSTITUTION AVE 5111
SUITE 300                                                                         WASHINGTON DC 20530-0001
TYLER TX 75702-7231




UNITED STATES TRUSTEES OFFICE            ZWICKER ASSOCIATES PC
110 NORTH COLLEGE AVE 300                ANTHONY CHERIAN
TYLER TX 75702-7231                      17950 PRESTON ROAD 750
                                         DALLAS TX 75252-5665
